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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                   Plaintiff,

v.                                                 Case No. 22-CR-115-CVE

JOHNNY WESLEY SPARKS,
a/k/a “J5,”

                   Defendant.

                           Motion for Detention Hearing

     COMES NOW the United States of America, pursuant to 18 U.S.C. § 3142(e)

and (f), and hereby requests that the Court hold a hearing pending trial to determine

whether any condition, or combination of conditions, as set forth in 18 U.S.C. §

3142(c), will reasonably assure the appearance of the Defendant as required and the

safety of any other person and the community.
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      Dated this 29th day of August, 2022.

                                      Respectfully submitted,

                                      CLINTON J. JOHNSON
                                      United States Attorney



                                        /s/ David A. Nasar ______________
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